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                                                     EXHIBIT B
                                   Lordstown Motors Corp., et al. - CASE NO: 23-10831
                                               EXPENSE SUMMARY
                              FOR THE PERIOD DECEMBER 1, 2023 TO DECEMBER 31, 2023

   DATE        PROFESSIONAL                                     DESCRIPTION                                       AMOUNT
Business Meals
 11/21/2023 Matthew Altman     Overtime Meal (Working Dinner)                                                         $20.22
 11/27/2023 Matthew Altman     Overtime Meal (Working Dinner)                                                          30.00
 11/28/2023 Matthew Altman     Overtime Meal (Working Dinner)                                                          29.00
 11/29/2023 Matthew Altman     Overtime Meal (Working Dinner)                                                          29.91
 11/30/2023 Matthew Altman     Overtime Meal (Working Dinner)                                                          27.71
                                                                               Subtotal Business Meal Expenses       $136.84
Conference Calls
 11/30/2023 M3 Team            Conference Calls                                                                       $40.11
                                                                              Subtotal Conference Calls Expense       $40.11

Total                                                                                                                $176.95
